
Justice Scalia,
with whom Justice Thomas joins, concurring.
Taxpayers ordinarily do not have standing to challenge federal or state expenditures that allegedly violate the Constitution. See DaimlerChrysler Corp. v. Cuno, 547 U. S. 332, 343-345 (2006). In Flast v. Cohen, 392 U. S. 83 (1968), we created a narrow exception for taxpayers raising Establishment Clause challenges to government expenditures. Today’s majority and dissent struggle with whether respondents’ challenge to the Arizona tuition tax credit falls within that narrow exception. Under a principled reading of Article III, their struggles are unnecessary. Flast is an anomaly in our jurisprudence, irreconcilable with the Article III restrictions on federal judicial power that our opinions have *147established. I would repudiate that misguided decision and enforce the Constitution. See Hein v. Freedom From Religion Foundation, Inc., 551 U. S. 587, 618 (2007) (Scalia, J., concurring in judgment).
I nevertheless join the Court’s opinion because it finds respondents lack standing by applying Flast rather than distinguishing it away on unprincipled grounds. Cf. Hein, supra, at 628-631.
